                           UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF MISSOURI
                                ST. JOSEPH DIVISION

KAREN BACKUES KEIL, et al.                      )
                                                )
       Plaintiffs,                              )
                                                )
v.                                              )       Case No.       5:18-CV-06074-BP
                                                )
EDWARD BEARDEN,                                 )
                                                )
       Defendant.                               )

            REQUEST FOR WRIT OF HABEAS CORPUS AD TESTIFICANDUM

       Plaintiffs respectfully petition this Court to issue a Motion for a Writ of Habeas Corpus Ad

Testificandum for Plaintiff Lynnsey Betz. In support of this Petition, Plaintiffs state as follows:

       1.        This Court has the authority and discretion to issue a writ of habeas corpus ad

testificandum where an inmate-witness’s testimony is relevant and necessary to the pending action.

28 U.S.C. §§ 1651(a) and 2241(c)(5).

       2.        Plaintiff Lynnsey Betz is currently confined at Grundy County Jail at 115 East 8th

Street, Trenton, MO, 64683.

       3.        The presence of Plaintiff Lynnsey Betz is not only necessary, it is required – to give

testimony in her lawsuit set for trial beginning January 31, 2022.

       4.        Plaintiff Lynnsey Betz’s case has been consolidated with three other cases, all of

which are actions pursuant to 42 U.S.C. § 1983, where Plaintiffs seek compensatory and punitive

damages against Defendant Edward Bearden for violations of their constitutional rights while

acting under color of state law, together with reasonable attorney’s fees and costs pursuant to 42

U.S.C. § 1988.




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         5.       In summary, Plaintiffs’ allegations against Defendant are that the Defendant

Corrections Officers harassed, abused, and sexually assaulted them during their confinement at the

Chillicothe Correctional Center in Missouri between June 2012 and October 2018.

         6.       Lynnsey Betz’s testimony is relevant, necessary and required for trail of these

cases.

         WHEREFORE, Plaintiffs respectfully requests that the Clerk of the Court be directed to

issue a certified Writ of Habeas Corpus Ad Testificandum commanding Sherriff Rodney Herring

at the Grundy County Jail to produce Plaintiff Lynnsey Betz in the United States District

Courthouse in Kansas City, Missouri, on January 31, 2022, and through February 4, 2022.

                                                     Respectfully submitted,

                                                     /s/ Jenifer C. Snow
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                                                     Attorneys for Plaintiffs




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                              CERTIFICATE OF SERVICE

       I certify that a copy of the foregoing Writ of Habeas Corpus Ad Testificandum has been
served upon Counsel of Record by means of electronic email this 21st day of January 2022.

                                                  /s/ Jenifer C. Snow




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